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                                     CERTIFICATION OF
                                  DE.KA INVESTMENT GMBH

        We, Carla Zinkand and Michael Windischmann, as authorized signatories of court-

appointed Lead Plaintiff Deka Investment GmbH ("DEKA"), on account of the funds listed

in the attached Schedule A (the "DEKA Funds"), make this Certification pursuant to 28

U.S.C. § 1746 and 15 U.S.C. § 78u-4, and hereby certify as follows:

        1.      We are fully authorized to enter into and execute this Certification on behalf of

DEKA and the DEKA Funds. We have reviewed the Amended Complaint against NIKE, Inc.

("NIKE") and certain of its current or former executives and/or Directors alleging violations of the

federal securities laws and authorize the filing of this pleading;

        2.      The DEKA Funds did not transact in Class B common stock of NIKE at the

direction of counsel or in order to participate in any private action under the federal securities laws;

        3.      DEKA is willing to serve as a lead plaintiff and representative party in this matter,

including providing testimony at deposition and trial, if necessary. DEKA fully understands the

duties and responsibilities of the lead plaintiff under the Private Securities Litigation Reform Act,

including the selection and retention of counsel and overseeing the prosecution of the action for

the Class;

        4.     The DEKA Funds' transactions in NIKE Class B common stock during Class

Period (as defined in the Amended Complaint) are reflected in Schedule A attached hereto;

        5.     Aside from the instant action, DEKA has not sought to serve or been appointed as

a lead plaintiff or representative party in any class action filed under the federal securities laws

during the three-year period preceding the date of this Certification.

       6.      Representative; of DEKA, on behalf Deka International S.A. Luxembourg, sought

to serve and were appointed as a lead plaintiff and representative party in the following class action




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filed under the federal securities laws during three-year period preceding the date of this

Certification:

        Weston v. Docusign, Inc., No. 3:22-cv-00824 (N.D. Cal.)

        7.       Beyond DEKA's pro rata share of any recovery, DEKA will not accept payment

for serving as a lead plaintiff and representative party on behalf of the Class, ewept the

reimbursement of such reasonable costs and expenses (including lost wages) as ordered or

approved by the Court.

       We declare under penalty of perjury pursuant to 28 U.S.C. § 1746 under the laws of the

United States of America and to the best of our knowledge that the foregoing is true and correct.

Executed this    Sf::h._ day of February, 2025.

                                                         (




 Carla Zinkand
                                                      j tl"'~( ( ,__
                                                      Michael Windischmann
 Authorized Signatory                                 Authorized Officer
 Deka Investment GmbH                                 Deka Investment GmbH




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                                            SCHEDULE A

                    Fund Name              Transaction Type     Trade Date    Shares    Price Per Share   Cost/Proceeds
               HEGAU-BODENSEE FM 1        Beeinning Holdings     3/19/2021       0
               HEGAU-BODENSEE FM 1             Purchase           2/2/2023     1,030      $130.4500       ($134,363.50)
               HEGAU-BODENSEE FM 1             Purchase          7/12/2023      500       $108.3020        ($54,151.00)
               HEGAU-BODENSEE FM 1             Purchase          11/1/2023     1,525      $100.7106       ($153 ,583.67)
               HEGAU-BODENSEE FM 1             Purchase          2/ 13/2024    2,189      $104.9934       ($229,830.51)
               HEGAU-BODENSEE FM 1             Purchase          3/ 11/2024
                                                                                                                            Case 3:24-cv-00974-AN




                                                                                580       $101.5454        ($58,896.33)
               HEGAU-BODENSEE FM 1               Sale            3/20/2024    (3,714)     $99.7701         $370,546.21
               HEGAU-BODENSEE FM 1             Purchase          7/18/2024     2,390      $72.9833        ($-I 74,430.09)
               HEGAU-BODENSEE FM 1             Purchase          8/ 13/2024    2,275      $78.5235        ($178 ,640.96)
               HEGAU-BODENSEE FM 1             Purchase          9/ 13/2024    2,275      $78.8143        (S 179,302.53)
               HEGAU-BODENSEE FM 1          End Holdimi:s        10/1/2024     9,050                      ($792,652.38)

                    A-SFU-FO~DS           Beginnine Holdines    3/19/2021       0
                                                                                                                            Document 53-2




                    A-SFU-FONDS                Purchase         3/ 11/2024    4,400       $101.1328       ($444,984.23)
                    A-SFU-FONDS             End Holdines        10/1/2024     4,400                       ($444,984.23)

                     VRS-FONDS            Beeinnine Holdin2s    3/19/2021        0
                     YRS-FONDS                 Purchase         1/12/2022       475       $152.7131        ($72,538.72)
                     YRS-FONDS                 Purchase          6/1/2022       225       $120.0926        ($27,020.84)
                                                                                                                            Filed 02/10/25




                     YRS-FONDS                 Purchase         2/2/2023        215       $130.4186        ($28,040.00)
                     YRS-FONDS                 Purchase          3/ 1/2024     1,200      $102.7639       ($123,316.68)
                     YRS-FONDS                   Sale            7/2/2024     (2,115)      $76.7088        $162,239.11
                     VRS-FONDS              End Holdines        10/1/2024       0                          ($88,677.12)

               A-WITTRING Master-Fonds    Be2innine Holdine:s   3/19/2021       0
                A-WITTRlNG Master-Fonds        Purchase         1/18/2022     1,920       $147.9742       ($284,110.46)
                                                                                                                            Page 4 of 34




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                      Fund Name            Transaction Tvpe      Trade Date   Shares     Price Per Share   Cost/Proceeds
                A-WITTRING Master-Fonds          Sale              5/9/2022   (1,920)       $113.6128        $218,136.58
                A-WITTRING Master-Fonds        Purchase           3/23/2023     800         $121.3700        ($97,096.00)
                A-WITTRING Master-Fonds          Sale              7/2/2024    (800)         $76.7088         $61,367.04
               A-WITTRIN G Master-Fonds     End Holdings          10/1/2024      0                          ($101,702.85)

                   SHC-Masterfonds        Be1?:innin2 Holdin2s   3/19/2021       0
                    SHC-Masterfonds            Transfer in       6/30/2022     3,000       $102.2000        ($306,600.00)
                    SHC-Masterfonds                Sale          10/20/2023   (1,000)      $103.0420         $103,042.00
                                                                                                                             Case 3:24-cv-00974-AN




                    SHC-Masterfonds             Purchase          1/26/2024    1,000       $101.5700        ($101,570.00)
                   SHC-Masterfonds              Purchase         3/22/2024     1,000        $93.1763         ($93,176.30)
                   SHC-Masterfonds              Purchase         6/28/2024     1,000        $77.0000         ($77,000.00)
                   SHC-Masterfonds           End Holdings         10/1/2024    5,000                        ($475,304.30)

                   Deka-MegaTrends        Be1dnning Holdings     3/19/2021     19,000
                   Deka-MegaTrends             Purchase          6/18/2021      3,000      $127.7856        ($383,356.80)
                                                                                                                             Document 53-2




                   Deka-MegaTrends             Purchase          9/21 /2021     2,500      $154.7573        ($386,893.25)
                   Deka-MegaTrends             Purchase          9/24/2021     16,500      $149.9187       ($2,473,658.55)
                   Deka-MegaTrends             Purchase          9/30/2021     14,000      $145.5920       ($2,038,288.00)
                   Deka-MegaTrends             Purchase          10/7/2021      7,500      $152.1268       ($1,140,951.00)
                   Deka-MegaTrends             Purchase          12/9/2021      2,500      $169.8967        ($424,741.75)
                   Deka-MegaTrends             Purchase          12/14/2021     1,500      $166.2900        ($249,435.00)
                   Deka-MegaTrends             Purchase           1/5/2022      2,500      $166.4900        ($416,225.00)
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                   Deka-MegaTrends               Sale            1/11/2022     (4,000)     $149.3817         $597,526.80
                   Deka-MegaTrends               Sale            2/ 18/2022    (2,500)     $143.4400         $358,600.00
                   Deka-MegaTrends               Sale             3/8/2022     (7,500)     $125.2400         $939,300.00
                   Deka-MegaTrends               Sale            3/14/2022    (25,000)     $118.8692        $2,971,730.00
                   Deka-MegaTrends             Purchase           4/7/2022      1,000      $127.5900        ($127,590.00)
                   Deka-MegaTrends             Purchase          4/27/2022     11 ,000     $121.9606       ($1,341,566.60)
                                                                                                                             Page 5 of 34




                   Deka-MegaTrends               Sale            5/25/2022    (10,500)     $103.5000        $1,086,750.00




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                           Fund Name                 Transaction Tvoe     Trade Date    Shares     Price Per Share   Cost/Proceeds
                        Deka-MegaTrends                  Purchase          7/25/2022     15,000       $108.7877      ($1,631 ,815.50)
                        Deka-MegaTrends                  Purchase          9/30/2022     8,750         $83 .6000      ($731 ,500.00)
                        Deka-MegaTrends                  Purchase          9/30/2022     8,750         $83.9446       ($734,515.25)
                        Deka-MegaTrends                    Sale             1/6/2023    (2,500)       $122.0000        $305,000.00
                        Deka-MegaTrends                  Purchase         3/ 13/2023      3,500       $117.4321       ($411,012.35)
                        Deka-MegaTrends                  Purchase         5/17/2023       5,000       $116.6015       ($583,007.50)
                        Deka-MegaTrends                  Purchase         5/23/2023      10,000       $108 .9081     ($1,089,081 .00)
                        Deka-MegaTrends                  Purchase         6/14/2023      15,000       $112.6866      ($1,690,299.00)
                                                                                                                                        Case 3:24-cv-00974-AN




                        Deka-MegaTrends                  Purchase          7/6/2023       5,000       $104.8276       ($524,138 .00)
                        Deka-MegaTrends                  Purchase         7/31/2023      10,000       $109.4200 •    ($1 ,094,200.00)
                        Deka-MegaTrends •                  Sale           8/24/2023     (30,000)       $98.7388       $2,962,164.00
                        Deka-MegaTrends                  Purchase         9/15/2023    • 10,000        $96.4225       ($964,225.00)
                        Deka-MegaTrends                    Sale           10/26/2023    (13,500)      $100.6657       $1 ,358,986.95
                        Deka-MegaTrends                  Purchase         12/22/2023     12,500       $108.1000      ($1,351,250.00)
                        Deka-MegaTren·ds                 Purchase           1/5/2024     25,000       $102.3881      ($2,559,702.50)
                                                                                                                                        Document 53-2




                        Deka-MegaTrends                  Purchase           1/9/2024      1,000       $102.8154       ($102,815.40)
                        Deka-MegaTrends                  Purchase          1/25/2024      5,000       $100.7469       ($503,734.50)
                        Deka-MegaTrends                    Sale            2/5/2024     (18,500)      $99.6446        $1 ,843,425.10
                        Deka-MegaTrends                    Sale           2/29/2024     (55,000)      $104.2078       $5,731 ,429.00
                        Deka-MegaTrends                  Purchase         5/23/2024      30,000        $91.6783      ($2,750,349.00)
                        Deka-MegaTrends                    Sale           6/24/2024     (27,500)       $97.4527       $2,679,949.25
                        Deka-MegaTrends                    Sale           8/23/2024     (49,000)       $83.8237       $4,107,361.30
                                                                                                                                        Filed 02/10/25




                        Deka-Me2aTrends                End Holdin2s       10/1/2024         0                         ($762,128.55)

               Mainfranken Wertkonzept aus2ewo2en    Beginning Holdings   3/19/2021        0
                Mainfranken Wertkonzept ausgewogen        Purchase         2/9/2024      5,000       $103.8000       ($519,000.00)
                Mainfranken Wertkonzept ausgewogen          Sale           3/4/2024     (5,000)      $101.6500        $508,250.00
               Mainfranken Wertkonzept aus2ewo2en      End Holdings       10/1/2024        0                          ($10,750.00)
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                                  Fund Name                          Transaction Type    Trade Date   Shares     Price Per Share   Cost/Proceeds
                         Deka-Multi Strategie Global PB             Beginning Holdings    3/19/2021       0
                          Deka-Multi Strategie Global PB                 Purchase         2/9/2024     5,000       $103. 8000      ($519,000.00)
                          Deka-Multi Strategie Global PB                   Sale            3/4/2024   (5 ,000)     $101.6500        $508,250.00
                       . Deka-Multi Strategie Global PB                End Holdin,zs      10/1/2024       0                         ($10,750.00)

                        Deka-N achhaltigkeit Dynamisch              Be2inning Holdings   3/19/2021        0
                         Deka-Nachhaltigkeit Dynamisch                   Purchase        4/4/2023       7,000      $12 1.5460      ($850,822.00)
                         Deka-Nachhaltigkeit Dynamisch                   Purchase        4/5/2023       7,000      $123 .0130      ($861,091.00)
                                                                                                                                                    Case 3:24-cv-00974-AN




                         Deka-Nachhaltigkeit Dynamisch                     Sale          5/ 15/2023   (10,000)     $119.8200       $1,198,200.00
                         Deka-Nachhaltigkeit Dvnamisch                   Purchase        6/21/2023     6,000       $108.9800       ($653,880.00)
                         Deka-Nachhaltigkeit Dynamisch                     Sale          4/2/2024     (10,000)     $91.6600         $916,600.00
                        Deka-N achhaltigkeit Dynamisch                End Holdings       10/1/2024        0                        ($250.993.00)

                 SK Rhein Neckar Nord Nachhalti,zkeit Invest        Beginning Holdin2s   3/19/2021       0
                  SK Rhein Neckar Nord Nachhaltigkeit Invest             Purchase         4/6/2021      300        $135.4400        ($40,632.00)
                                                                                                                                                    Document 53-2




                  SK Rhein Neckar Nord Nachhaltigkeit Invest             Purchase        6/ 15/2021     200        $131.5400        ($26,308.00)
                  SK Rhein Neckar Nord Nachhalti11:keit Invest             Sale          6/23/2021     (500)       $132.8100         $66,405.00
                  SK Rhein Neckar Nord Nachhalti!!:keit Invest           Purchase         3/ 1/2024    1,080       $102.3425       ($110,529.90)
                  SK Rhein Neckar Nord Nachhaltigkeit Invest               Sale          5/ 16/2024   (1,080)      $91.7700          $99,111.60
                 SK Rhein Neckar Nord Nachhaltigkeit Invest           End Holdings       10/1/2024       0                          ($11,953.30)

               Heidelberg Nachhaltigkeit Globale Aktien Offensiv    Be2innin2 Holdings   3/19/2021       0
                                                                                                                                                    Filed 02/10/25




                Heidelberg Nachhaltigkeit Globale Aktien Offensiv        Purchase        11/2/2021      731        $166.7600       ($121,901.56)
                Heidelberg Nachhaltigkeit Globale Aktien Offensiv        Purchase        12/8/2021      340        $170.7450        ($58,053.30)
                Heidelberg Nachhaltigkeit Globale Aktien Offensiv          Sale           3/7/2022     (300)       $131.0000         $39,300.00
                Heidelberg Nachhaltigkeit Globale Aktien Offensiv          Sale          3/1 8/2022    (400)       $129.9525         $51 ,981.00
                Heidelberg Nachhaltigkeit Globale Aktien Offensiv        Purchase         6/1 /2022      10        $118.6700         ($1,186.70)
                Heidelberg Nachhaltigkeit Globale Aktien Offensiv        Purchase        7/26/2022      170        $105.9164        ($18,005 .79)
                                                                                                                                                    Page 7 of 34




                Heidelberg Nachhaltigkeit Globale Aktien Offensiv        Purchase        9/30/2022       99         $83 .9446        ($8,310.52)




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                                  Fund Name                           Transaction Type    Trade Date   Shares     Price Per Share   Cost/Proceeds
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv         Purchase         9/30/2022     99           $83.6000        ($8,276.40)
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv         Purchase         3/20/2023      50         $121.1230        ($6,056.15)
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv         Purchase         5/23/2023      30         $109.5000        ($3,285.00)
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv         Purchase          8/2/2023     195         $107.8252       ($21,025.91)
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv           Sale          10/26/2023    (250)        $100.6657        $25,166.43
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv         Purchase        12/22/2023     100         $108.1000       ($10,810.00)
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv         Purchase          1/5/2024     275         $102.4127       ($28,163.49)
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv           Sale            2/5/2024    (165)         $99.6446        $16,441.36
                                                                                                                                                    Case 3:24-cv-00974-AN




                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv           Sale           2/29/2024    (584)        $104.2078        $60,857.36
                Heidelberg Nachhaltigkeit Globale. Aktien Offensiv        Purchase         4/11/2024      50          $91.9696        ($4,598.48)
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv         Purchase         5/23/2024     510          $91.6788       ($46,756.19)
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv           Sale           6/24/2024    (525)         $97.4527        $51 ,162.67
                Heidelberg Nachhaltigkeit Globale Aktien 0ffensiv           Sale           8/23/2024    (435)         $83.8237        $36,463.31
               Heidelberg N achhaltigkeit Globale Aktien Offensiv      End Holdings       10/1/2024       0                          ($55,057.37)
                                                                                                                                                    Document 53-2




                        S-Multi Asset ESG Ausgewogen                 Beginning Holdings   3/19/2021       0
                        S-Multi Asset ESG Ausgewogen                      Purchase         3/ 1/2024     885        $102.3425        ($90,573.11)
                        S-Multi Asset ESG Ausgewogen                        Sale          5/16/2024     (885)        $91.7700         $81,216.45
                        S-Multi Asset ESG Ausgewogen                   End Holdings       10/1/2024       0                           ($9,356.66)

                    Masterfonds der Sparkasse an der Linne           Beginning Holdings   3/19/2021        0
                     Masterfonds der Sparkasse an der Linne               Purchase        10/7/2021     4,450       $152.8433       ($680,152.69)
                                                                                                                                                    Filed 02/10/25




                     Masterfonds der Sparkasse an der Linne                 Sale          6/26/2023    (1 ,030)     $111.9487        $115,307.16
                     Masterfonds der Sparkasse an der Linne                 Sale           7/2/2024    (3,420)       $76.7088        $262,344.10
                    Masterfonds der Soarkasse an der Lippe             End Holdin2s       10/1/2024       0                         ($302,501.43)

                               Inter-Essen-Fonds                     Beginning Holdings   3/19/2021    2,424
                                Inter-Essen-Fonds                         Purchase         7/6/2021     221         $160.1100        ($35,384.31)
                                                                                                                                                    Page 8 of 34




                                Inter-Essen-Fonds                           Sale          8/31/2021    (408)        $164.7400         $67,213.92




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                              Fund Name                     Transaction Type       Trade Date    Shares    Price Per Share   Cost/Proceeds
                           Inter-Essen~Fonds                    Purchase            10/4/2021      191        $147.1400       ($28,103 .74)
                           Inter-Essen-Fonds                    Purchase            1/10/2022      149        $150.4400       ($22,415.56)
                           Inter-Essen~Fonds                    Purchase             4/1/2022      264        $133.5200       ($35 ,249.28)
                           Inter-Essen-Fonds                    Purchase            8/31/2023      299        $101.7100       ($30,411 .29)
                           Inter-Essen-Fonds                      Sale               3/5/2024     (360)       $98.3100         $35,391 .60
                           Inter-Essen-Fonds                    Purchase            8/30/2024      282        $83.3200        ($23,496.24)
                          Inter-Essen-Fonds                   End Holdings          10/1/2024    3,062                        ($72,454.90)
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                    Catholic Value-Aktien-Fonds            Beginning Holdings      3/19/2021     4,760
                    Catholic Value-Aktien-Fonds                   Sale             11/30/2021    (468)       $169.2400         $79,204.32
                    Catholic Value-Aktien-Fonds                 Purchase            1/18/2022     348        $146.9500        ($51,138.60)
                    Catholic Value-Aktien-Fonds                 Purchase           6/22/2022      601        $104.9200        ($63 ,056.92)
                    Catholic Value-Aktien-Fonds                 Purchase           8/30/2024      425         $83 .3200       ($35,411.00)
                    Catholic Value-Aktien-Fonds               End Holdings         10/1/2024     5,666                        ($70,402.20)
                                                                                                                                               Document 53-2




               WertuanierStratee:iePortfolio Stiftune:en   Bee:innine: Holdine:s   3/19/2021       0
                WertpapierStrategiePortfolio Stiftungen          Purchase          8/22/2023      942        $101.9789        ($96,064.12)
                WertpapierStrategiePortfolio Stiftungen          Purchase          4/5/2024      1,513       $89.7863        ($135,846.67)
                WertpapierStrategiePortfolio Stiftungen          • Sale            10/1/2024     (633)       $87.9067          $55,644.94
               WertpapierStratee:iePortfolio Stiftune:en      End Holdine:s        10/1/2024     1,822                       ($176,265.85)

                    SH Balanced Investment Fund            Beginnin2 Holdings      3/19/2021        0
                                                                                                                                               Filed 02/10/25




                      SH Balanced Investment Fund               Purchase            12/7/2021     3,800      $172.1539        ($654,184.82)
                      SH Balanced Investment Fund               Purchase            2/2/2023      2,000      $130.1805        ($260,361.00)
                      SH Balanced Investment Fund               Purchase           10/ 16/2023    2,740      $102.1434        ($279,872.92)
                      SH Balanced Investment Fund                 Sale             3/26/2024     (8,540)     $93.1245          $795,283.23
                    • SH Balanced Investment Fund               Purchase           9/26/2024      8,350       $90:0000        ($751 ,500.00)
                    SH Balanced Investment Fund              End Holdings          10/1/2024      8,350                      ($1,150,635.51)
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                 Fund Name          Transaction Type       Trade Date    Shares    Price Per Share   Cost/Proceeds
                Skvhook Invest     Bee:innin2 Holdin2s      3/19/2021       0
                Skyhook Invest           Purchase           1/11/2022     2,800      $149.3632        ($418,216.96)
                Skyhook Invest           Purchase           1/13/2022     1,800      $151.9514        ($273,512.52)
                Skyhook Invest           Purchase            3/9/2022    4,000       $128.8632        ($515,452.80)
                 Skyhook Invest         Purchase           11 /29/2022    1,000      $106.3343        ($106,334.30)
                 Skyhook Invest         Purchase           11/30/2022     1,400      $107.3652        ($150,3 l 1.28)
                 Skyhook Invest           Sale             4/25/2023     (2,000)     $126.3977         $252,795.40
                 Skyhook Invest         Purchase           5/22/2024      4,500      $92.0951         ($414,427.95)
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                 Skyhook Invest         Purchase           7/31/2024      3,300      $75.0586         ($247,693.38)
               • Skyhook Invest         Purchase           8/ 16/2024     4,200      $83.1500         ($349,230.00)
                 Skyhook Invest         Purchase            9/3/2024       487       $81.3200          ($39,602.84)
                 Skyhook Invest           Sale              9/4/2024      (487)      $80.1000           $39,008.70
                 Skvhook Invest       End Holdin2s          10/1/2024    21,000                      ($2,222,977.93)

               V V E Aachen 2020   Bee:innin2 Holdings     3/19/2021       0
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               V V E Aachen 2020         Purchase          4/12/2024     5,000        $92.0100       ($460,050.00)
               V V E Aachen 2020         Purchase           7/2/2024     2,500        $75 .9800      ($189,950.00)
               V V E Aachen 2020      End Holdings         10/1/2024     7,500                       ($650,000.00)

               MaGuSt-FONDS        Bee:innine: Holdine:s   3/19/2021       0
               MaGuSt-FOKDS              Purchase            1/5/2022     300        $166.7503        ($50,025.09)
               MaGuSt-FOKDS              Purchase          4/28/2022      100        $123.3600        ($12,336.00)
                                                                                                                        Filed 02/10/25




               MaGuSt-FOKDS                 Sale           9/23/2022     (400)        $97.0000         $38,800.00
               MaGuSt-FOKDS              Purchase          11/25/2022     650        $105.7546        ($68,740.49)
               MaGuSt-FOKDS              Purchase           1/27/2023     116        $127.0700        ($14,740.12)
               MaGuSt-FOKDS              Purchase           1/31/2023     116        $126.6169        ($14,687.56)
               MaGuSt-FOKDS              Purchase           2/3/2023      116        $126.7900        ($14,707.64)
               MaGuSt-FOKDS                 Sale           2/ 16/2023    (648)       $125.7325         $81 ;474.66
               MaGuSt-FOKDS              Purchase           6/2/2023      600        $106.3140        ($63,788.40)
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                   Fund Name            Transaction Tvpe       Trade Date   Shares      Price Per Share   Cost/Proceeds
                  MaGuSt-FONDS                Sale              12/6/2023    (950)         $116.0000       $110,200.00
                  MaGuSt-FONDS            End Holdings          10/1/2024      0                           ($8,550.64)

                SV FvS Global Invest    Bee:innine: Holdings   3/19/2021       0
                SV FvS Global Invest          Purchase          4/ 1/2022     380         $134.3805        ($51 ,064.59)
                SV FvS Global Invest          Purchase          4/7/2022      635         $127.5900        ($81 ,019.65)
                SV FvS Global Invest          Purchase         7/20/2022     1,135        $111.4611       ($126,508.35)
                SV FvS .Global Invest         Purchase          3/7/2024      350         $98.2545         ($34,389.08)
                                                                                                                             Case 3:24-cv-00974-AN




                SV FvS Global Invest          Purchase         7/17/2024     1,500        $73.2031        ($109,804.65)
                SV FvS Global Invest       End Holdings        10/1/2024     4,000                        ($402,786.31)

                    Cuyo Fonds          Beginning Holdings     3/19/2021        0
                    Cuyo Fonds               Purchase          8/24/2022     17,000       $110.5704       ($1,879,696.80)
                    Cuyo Fonds               Purchase          8/22/2023      4,000       $101.1000        ($404,400.00)
                    Cuyo Fonds               Purchase           6/7/2024     19,400       $96.7765        ($1,877,464. IO)
                                                                                                                             Document 53-2




                    Cuyo Fonds                 Sale            7/1 0/2024   (19 ,400)     $72.2376         $1 ,401,409.44
                    Cuyo Fonds               Purchase          8/19/2024      7,300       $83.7893         ($611,661.89)
                    Cuvo Fonds            End Holdine:s        10/1/2024     28,300                       ($3,371,813.35)

                   BE MA-Fonds          Bee:innine: Holdings   3/19/2021       0
                   BEMA-Fonds                 Purchase          1/4/2023     1,700        $120.5272       ($204,896.24)
                   BEMA-Fonds                    Sale          5/22/2023    (1,700)       $111.1943        $189,030.31
                                                                                                                             Filed 02/10/25




                   BEMA-Fonds                 Purchase         11/15/2023    1,473        $108.0407       ($159,143.95)
                   BEMA-Fonds                    Sale           l/4/2024    (1,473)       $102.8760        $151,536.35
                   BEMA-Fonds              End Holdine:s       10/1/2024       0                           ($23,473.53)

                 Kinderdorf-Fonds       Beginning Holdings     3/19/2021       0
                 Kinderdorf-Fonds           Transfer in        12/30/2022    4,000        $117.0100        ($468,040.00)
                                                                                                                             Page 11 of 34




                 Kinderdorf-Fonds              Sale            4/20/2023    (4,000)       $124. 8289        $499,315.60




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                      Fund Name            Transaction Type      Trade Date    Shares   Price Per Share   Cost/Proceeds
                   Kinderdorf-Fonds            Purchase           4/25/2024     6,000      $92.8003        ($556,801 .80)
                   Kinderdorf-Fonds            Purchase           5/14/2024     2,000      $93.5399        ($187,079.80)
                   Kinderdorf-Fonds         End Holdings          10/1/2024     8,000                      ($712,606.00)

                        RoMa              Beginning Holdings     3/19/2021       0
                        RoMa                   Purchase          12/ 15/2023   2,400      $121.5500        ($291 ,720.00)
                        RoMa                End Holdings         10/1/2024     2,400                       ($291,720.00)
                                                                                                                            Case 3:24-cv-00974-AN




                Schwarzwald FundMaster    Beginning Holdings     3/19/2021       0
                 Schwarzwald FundMaster        Purchase          4/15/2024      664        $93 .1000       ($61 ,818.40)
                 Schwarzwald FundMaster          Sale             5/2/2024     (324)       $92.4100         $29,940.84
                Schwarzwald FundMaster      End Holdings         10/1/2024      340                        ($31,877.56)

                     AUW-FONDS            Be2inning Holdings     3/19/2021       0
                     AUW-FONDS                 Purchase          6/20/2023      400       $111.2900        ($44,516.00)
                                                                                                                            Document 53-2




                     AUW-FONDS                   Sale            1/30/2024     (400)      $103.8184         $41,527.36
                     AUW-FONDS              End Holdim!:s        10/1/2024       0                          ($2,988.64)

                       SF-SSKM            Beginninl! Holdinl!S   3/19/2021       0
                       SF-SSKM                 Purchase           1/11/2022     473       $150.3000        ($71,091.90)
                       SF-SSKM                   Sale             1/21 /2022   (473)      $142.9500         $67,615.35
                       SF-SSKM                 Purchase          12/20/2023     784       $121.4300        ($95,201.12)
                                                                                                                            Filed 02/10/25




                       SF-SSKM                   Sale            4/23/2024     (784)       $94.0200         $73,711.68
                       SF-SSKM              End Holdin2s         10/1/2024       0                         ($24,965.99)

                 KSKBB-FundMaster 1       Be2inning Holdings     3/19/2021       0
                 KSKBB-FundMaster 1            Purchase          1/ 12/2023    1,300      $128.2700       ($166,751.00)
                 KSKBB-FundMaster 1            Purchase          11/9/2023      600       $108.4783        ($65,086.98)
                 KSKBB-FundMaster 1            Purchase           3/5/2024                 $98 .7300       ($59,238.00)
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                        Fund Name                  Transaction Type      Trade Date   Shares     Price Per Share   Cost/Proceeds
                     KSKBB-FundMaster 1                Purchase           5/7/2024     1,065        $93.7375         ($99,830.44)
                     KSKBB-FundMaster 1                Purchase           7/17/2024   13,460        $72.5000        ($975,850.00)
                     KSKBB-FundMaster 1                Purchase           8/15/2024    1,000        $82.0000         ($82,000.00)
                     KSKBB-FundMaster 1                  Sale             9/10/2024   (3,260)       $79.5600         $259,365.60
                     KSKBB-FundMaster 1             End Holdings          10/1/2024   14.765                       ($1,189,390.82)

                        Globale Aktien             Beidnnin2 Holdin2s    3/19/2021     15.306
                        Globale Aktien                    Sale           5/27/2021      (550)      $136.5600          $75,108.00
                                                                                                                                     Case 3:24-cv-00974-AN




                        Globale Aktien                    Sale           11/18/2021    (1,726)     $171.3500         $295,750.10
                        Globale Aktien                    Sale           11/30/2021     (168)      $169.2400          $28,432.32
                        Globale Aktien                  Purchase         5/20/2022      2,357      $108.0000        ($254,556.00)
                        Globale Aktien                    Sale           5/31/2022     (2,616)     $118.8500         $310,911.60
                        Globale Aktien                  Purchase         6/21/2022      1,726      $108.8625        ($187,896.68)
                        Globale Aktien                  Purchase          7/ 1/2022     6,281      $101.1800        ($635,511.58)
                        Globale Aktien                    Sale           8/ 18/2022    (3,443)     $116.0100         $399,422.43
                                                                                                                                     Document 53-2




                        Globale Aktien                    Sale           8/31/2022     (4,341)     $106.4500         $462,099.45
                        Globale Aktien                  Purchase         9/ 19/2022     4,533      $107.2100        ($485,982.93)
                        Globale Aktien                    Sale           10/13/2022   (17,359)      $89.5600        $1 ,554,672.04
                        Globale Aktien                  Purchase         11/22/2022    14,564      $105.9700       ($1,543,347.08)
                        Globale Aktien                  Purchase         11/30/2022      531       $109.6900         ($58,245.39)
                        Globale Aktien                    Sale           8/31/2023     (1,373)     $101.7100         $139,647.83
                        Globale Aktien                  Purchase         11/30/2023     1,282      $110.2700        ($141,366. 14)
                                                                                                                                     Filed 02/10/25




                        Globale Aktien                  Purchase         5/31/2024      1,367       $95.0500        ($129,933.35)
                        Globale Aktien                  Purchase         9/30/2024      1,202       $89.7000        ($107,819.40)
                        Globale Aktien                End Holdin2s       10/1/2024     17.573                       ($278,614.78)

                WertpapierStrategiePortfolio MA    Beginning Holdine:s   3/19/2021       0
                 WertpapierStrategiePortfolio MA       Transfer in       9/30/2021     3,108       $145.2300       ($451,374.84)
                 WertpapierStrategiePortfolio MA       Transfer in       9/30/2021     1,670       $145.2300       ($242,534.10)
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                           Fund Name                  Transaction Type      Trade Date   Shares     Price Per Share   Cost/Proceeds
                 W ertpapierStrategiePortfolio MA         Purchase          10/11/2021    4,889        $151.9900       ($743,079. 11)
                 W ertpapierStrategiePortfolio MA           Sale            11/11/2021    (146)        $169.6000         $24,761.60
                 WertpapierStrategiePortfolio MA            Sale            11/12/2021   (1,648)       $167.5000        $276,040.00
                 WertpapierStrategiePortfolio MA          Purchase          11/30/2021     928         $170.3822       ($158,114.65)
                 WertpapierStrategiePortfolio MA            Sale             1/11/2022     (28)        $150.4800          $4,213.44
                 WertpapierStrategiePortfolio MA          Purchase           1/31/2022     715         $146.2700       ($104,583.05)
                 WertpapierStrategiePortfolio MA            Sale              2/2/2022    (547)        $148.6811         $81,328 .56
                 W ertpapierS trategiePortfolio MA          Sale             6/15/2022    (323)        $112.7665         $36,423.58
                                                                                                                                        Case 3:24-cv-00974-AN




                 WertpapierStrategiePortfolio MA          Purchase            7/1/2022     601         $101.7600        ($61,157.76)
                 WertpapierStrategiePortfolio MA            Sale             9/22/2022   (1,694)        $99.2119        $168,064.96
                 WertpapierStrategiePortfolio MA          Purchase          12/20/2022     958         $103.0000        ($98,674.00)
                 W ertpapierStrategiePortfolio MA           Sale              6/7/2023    (677)        $106.0400         $71 ,789.08
                 WertpapierStrategiePortfolio MA            Sale              8/4/2023   (1,027)       $108.7100        $111 ,645.17
                 WertpapierStrategiePortfolio MA          Purchase           8/22/2023    7,613        $101.9789       ($776,365.37)
                 WertpapierStrategiePortfolio MA          Purchase          11/13/2023     682         $105.2600        ($71,787.32)
                                                                                                                                        Document 53-2




                 WertpapierStrategiePortfolio MA            Sale             2/29/2024    (502)        $104.9000         $52,659.80
                 WertpapierStrategiePortfolio MA            Sale              3/1/2024    (454)       $103.8700          $47,156.98
                 WertpapierStrategiePortfolio MA            Sale             3/15/2024   (1,965)        $99.9900        $196,480.35
                 W ertpapierStrategiePortfolio MA         Purchase           4/5/2024     7,473         $89.7863       ($670,973.02)
                 WertpapierStrategiePortfolio MA            Sale             4/23/2024   (4,540)        $94.1500        $427,441.00
                 WertpapierStrategiePortfolio MA            Sale             10/1/2024   (2,509)        $87.9067        $220,557.91
                WertpapierStrategiePortfolio MA         End Holdin2s         10/1/2024   12,577 .                     ($1,660,080.79)
                                                                                                                                        Filed 02/10/25




                 WertpapierStrate2iePortfolio A      Bel?:innin2 Holdin2s   3/19/2021       0
                  WertpapierStrategiePortfolio A            Purchase         1/2/2024    4,000        $107.5670        ($430,267.96)
                  W ertpapierS trategiePortfolio A         Purchase         3/15/2024    4,000         $99.9900        ($399,960.00)
                  WertpapierStrategiePortfolio A           Purchase         7/24/2024    4,000         $72.5166        ($290,066.40)
                 WertpapierStrate2iePortfolio A         End Holdin2s        10/1/2024    12,000                       ($1,120,294.36)
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                  Fund Name          Transaction Tvpe      Trade Date     Shares      Price Per Share   Cost/Proceeds
                Deka Value Extra    Beidnnin2 Holdin2s      3/19/2021     28,178
                Deka Value Extra         Purchase            7/9/2021       1,382       $161.0000        ($222,502.00)
                Deka Value Extra         Purchase           7/12/2021       2,326       $161.8200        ($376,393.32)
                Deka Value Extra         Purchase           7/ 16/2021      1,182       $159.8500        ($188 ,942.70)
                Deka Value Extra         Purchase          11/29/2021       2,189       $169.8700        ($371,845.43)
                Deka Value Extra         Purchase           1/11/2022      4,167        $150.3000        ($626,300.10)
                Deka Value Extra         Purchase           2/2/2022         865        $148.7100        ($128,634.15)
                Deka Value Extra         Purchase           6/30/2022       1,874 .     $102.1383        ($191,407.17)
                                                                                                                           Case 3:24-cv-00974-AN




                Deka Value Extra         Purchase           9/14/2022      11,236       $107.0000       ($1,202,252.00)
                Deka Value Extra         Purchase        • 10/ l 0/2022     2,080        $86.6900        ($180,315.20)
                Deka Value Extra         Purchase          10/ 19/2022     11 ,687       $88.5700       ($1 ,035,117.59)
                Deka Value Extra         Purchase          10/25/2022      4,810         $91.7200        ($441,173.20)
                Deka Value Extra           Sale             11/2/2022       (140)        $90.3000          $12,642.00
                Deka Value Extra         Purchase           2/ 1/2023        184        $129.5000         ($23,828.00)
                Deka Value Extra           Sale              2/ 1/2023      (828)       $129.5000         $107,226.00
                                                                                                                           Document 53-2




                Deka Value Extra         Purchase           6/16/2023      4,421        $113.9200        ($503,640.32)
                Deka Value Extra         Purchase            8/2/2023       1,099       $107.5100        ($118,153.49)
                Deka Value Extra         Purchase           2/7/2024        1,037       $103.7900        ($107,630.23)
                Deka Value Extra         Purchase            5/2/2024       1,808        $92.4100        ($167,077.28)
                Deka Value Extra         Purchase            8/6/2024      13,250        $72.5000        ($960,625.00)
                Deka Value Extra         Purchase           8/7/2024        3,035        $72.6200        ($220,401.70)
                Deka Value Extra         Purchase           8/8/2024        8,803        $74.1900        ($653,094.57)
                                                                                                                           Filed 02/10/25




                Deka Value Extra      End Holdiri2s         10/1/2024     104,645                       ($7,599,465.45)

                MF Deka ImmoPlus    Be2innin2 Holdin2s     3/19/2021         0
                MF Deka ImmoPlus         Purchase           5/3/2021       1,200         $133.3700      ($160,044.00)
                MF Deka IrnmoPlus        Purchase           6/8/2021        300        • $134.6900       ($40,407.00)
                MF Deka ImmoPlus         Purchase          11/10/2021       500          $171.6200       ($85,810.00)
                                                                                         $108.8400       ($32,652.00)
                                                                                                                           Page 15 of 34




                MF Deka ImmoPlus         Purchase          9/13/2022        300




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                        Fund Name            Transaction Type     Trade Date   Shares    Price Per Share   Cost/Proceeds
                     MF Deka ImmoPlus              Sale            1/10/2023    (400)       $125.2100        $50,084.00
                     MF Deka ImmoPlus              Sale            7/18/2023   (1,900)      $108.5800       $206,302.00
                     MF Deka ImmoPlus            Purchase           1/9/2024     560        $103.1700       ($57,775.20)
                     MF Deka lmmoPlus            Purchase          2/6/2024      170         $99.5000       ($16,915.00)
                     MF Deka lmmoPlus              Sale             3/6/2024    (730)       $100.0000        $73,000.00
                     MF Deka ImmoPlus         End Holdings         10/1/2024     0                          ($64,217.20)

                DEKA MSCI WORLD UCITS ETF    Beginning Holdings   3/19/2021    15,485
                                                                                                                            Case 3:24-cv-00974-AN




                 DEKA MSC! WORLD UCITS ETF        Purchase        3/23/2021      168       $137.1200        ($23,036.16)
                 DEKA MSC! WORLD UCITS ETF        Purchase        3/26/2021      201       $132.9900        ($26,730.99)
                 DEKA MSC! WORLD UCITS ETF        Purchase        4/12/2021      335       $136.6400        ($45,774.40)
                 DEKA MSC! WORLD UCITS ETF        Purchase        4/ 14/2021     167       $132.2600        ($22,087.42)
                 DEKA MSC! WORLD UCITS ETF        Purchase        4/26/2021      167       $131.6000        ($21,977.20)
                 DEKA MSC! WORLD UCITS ETF        Purchase         5/6/2021      168       $133.4900        ($22,426.32)
                 DEKA MSC! WORLD UCITS ETF        Purchase        5/10/2021      335       $136.4000        ($45,694.00)
                                                                                                                            Document 53-2




                 DEKA MSCI WORLD UCITS ETF        Purchase        5/17/2021     1,004      $136.4100       ($136,955.64)
                 DEKA MSC! WORLD UCITS ETF        Purchase        5/27/2021      189       $136.5600        ($25,809.84)
                 DEKA MSC! WORLD UCITS ETF        Purchase        5/28/2021      338       $136.4600        ($46,123.48)
                 DEKA MSCI WORLD UCITS ETF        Purchase         6/1/2021      169       $134.5100        ($22,732.19)
                 DEKA MSC! WORLD UCITS ETF        Purchase         6/8/2021      102       $133.3500        ($13,601.70)
                 DEKA MSC! WORLD UCITS ETF        Purchase        6/10/2021      541       $130.9800        ($70,860.18)
                 DEKA MSC! WORLD UCITS ETF        Purchase        6/21/2021      102       $130.0800        ($13,268.16)
                                                                                                                            Filed 02/10/25




                 DEKA MSC! WORLD UCITS ETF        Purchase        6/22/2021      339       $132.4800        ($44,910.72)
                 DEKA MSC! WORLD UCITS ETF        Purchase        6/24/2021      101       $133.6000        ($13,493.60)
                 DEKA MSC! WORLD UCITS ETF        Purchase         7/7/2021      338       $160.1600        ($54,134.08)
                 DEKA MSC! WORLD UCITS ETF        Purchase        7/12/2021       69       $161.8200        ($11,165.58)
                 DEKA MSC! WORLD UCITS ETF        Purchase        7/21/2021      135       $161.0800        ($21 ,745.80)
                 DEKA MSCI WORLD UCITS ETF        Purchase        7/26/2021      169       $165.0900        ($27,900.21)
                 DEKA MSC! WORLD UCITS ETF                        7/26/2021                                 ($55,965.51)
                                                                                                                            Page 16 of 34




                                                  Purchase                       339       $165.0900




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                ""E..
                                 Fund Name           Transaction Type   Trade Date    Shares   Price Per Share   Cost/Proceeds
                        DEK.A MSCI WORLD UCITS ETF       Purchase         8/5/2021     339        $173.8500       ($58 ,935.15)
                        DEK.A MSCI WORLD UCITS ETF       Purchase        8/16/2021     338        $172.3600       ($58 ,257.68)
                        DEKA MSCI WORLD UCITS ETF        Purchase        8/24/2021     338        $169.9800       ($57,453.24)
                        DEKA MSCI WORLD UCITS ETF          Sale          8/31/2021     (25)       $164.7400         $4,118.50
                        DEKA MSCI WORLD UCITS ETF        Purchase         9/3/2021     338        $163.2900       ($55,192.02)
                        DEK.A MSCI WORLD UCITS ETF       Purchase        9/15/2021     338        $157.9100       ($53,373 .58)
                        DEKA MSCI WORLD UCITS ETF        Purchase        9/24/2021     169        $149.5900       ($25,280.71)
                        DEKA MSCI WORLD UCITS ETF        Purchase        10/5/2021     169        $149.4600       ($25,258.74)
                                                                                                                                  Case 3:24-cv-00974-AN




                        DEKA MSCI WORLD UCITS ETF        Purchase        10/5/2021     338        $149.4600       ($50,517.48)
                        DEKA MSCI WORLD UCITS ETF        Purchase        10/6/2021     338        $148.8000       ($50,294.40)
                        DEK.A MSCI WORLD UCITS ETF       Purchase        10/712021     337        $151.8500       ($51,173.45)
                        DEKA MSCI WORLD UCITS ETF        Purchase       10/ 12/2021    169        $153.3500       ($25 ,916.15)
                        DEKA MSCI WORLD UCITS ETF        Purchase       10/ 18/2021    338        $159.4300       ($53 ,887.34)
                        DEK.A MSCI WORLD UCITS ETF       Purchase       10/21/2021     135        $162.1800       ($21 ,894.30)
                        DEKA MSCI WORLD UCITS ETF        Purchase       10/29/2021     169        $167.2900       ($28,272.01)
                                                                                                                                  Document 53-2




                        DEKA MSCI WORLD UCITS ETF        Purchase       10/29/2021     170        $167.2900       ($28 ,439.30)
                        DEKA MSCI WORLD UCITS ETF        Purchase        11/4/2021     337        $175.4400       ($59,123 .28)
                        DEK.A MSCI WORLD UCITS ETF       Purchase       11/11 /2021    169       $166.9700        ($28,217.93)
                        DEKA MSCI WORLD UCITS ETF        Purchase       11/17/2021     338       $171.7400        ($58,048.12)
                        DEKA MSCI WORLD UCITS ETF          Sale         11/30/2021     (2)       $169.2400           $338.48
                        DEKA MSCI WORLD UCITS ETF        Purchase        12/8/2021     338        $170.2500       ($57,544.50)
                        DEKA MSCI WORLD UCITS ETF          Sale         12/10/2021    (271)       $169.0600        $45 ,815.26
                                                                                                                                  Filed 02/10/25




                        DEKA MSCI WORLD UCITS ETF        Purchase         1/7/2022     169        $156.9700       ($26,527.93)
                        DEKA MSCI WORLD UCITS ETF        Purchase        1/18/2022     338        $146.9500       ($49,669.10)
                        DEKA MSCI WORLD UCITS ETF        Purchase        1/18/2022     338        $146.9500       ($49,669.10)
                        DEKA MSCI WORLD UCITS ETF        Purchase        1/19/2022     169        $145.1100       ($24,523 .59)
                        DEK.A MSCI WORLD UCITS ETF       Purchase        1/27/2022     169       $144.6400        ($24,444.16)
                        DEKA MSCI WORLD UCITS ETF        Purchase        1/31/2022     338       $148.0700        ($50,047.66)
                        DEKA MSCI WORLD UCITS ETF        Purchase        2/3/2022      162        $145.3100       ($23 ,540.22)
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                       Fund Name              Transaction Type   Trade Date    Shares   Price Per Share   Cost/Proceeds
                DEKA MSCI WORLD UCITS ETF         Purchase         2/9/2022      172       $146.2600       ($25 ,156.72)
                DEKA MSCI WORLD UCITS ETF         Purchase        2/.18/2022     339       $142.9500       ($48,460.05)
                DEKA MSCI WORLD UCITS ETF '       Purchase        2/28/2022       16       $136.5500        ($2,184.80)
                DEKA MSC! WORLD UCITS ETF         Purchase        3/22/2022    • 338       $133.0900       ($44,984.42)
                DEKA MSC! WORLD UCITS ETF         Purchase        3/22/2022     339        $133.0900       ($45, 117.51 )
                DEKA MSCI WORLD UCITS ETF         Purchase        3/30/2022      169       $138.5400       ($23,413.26)
                DEKA MSCI WORLD UCITS ETF         Purchase         4/4/2022     338        $134.3400       ($45,406.92)
                DEKA MSCI WORLD UCITS ETF         Purchase         4/6/2022     339        $128.3600       ($43,514.04)
                                                                                                                            Case 3:24-cv-00974-AN




                DEKA MSCI WORLD UCITS ETF         Purchase         5/6/2022     169        $114.4900       ($19,348.81)
                DEKA MSCI WORLD UCITS ETF         Purchase         5/6/2022     338        $114.4900       ($38,697.62)
                DEKA MSC! WORLD UCITS ETF           Sale          5/31/2022     (53)       $118.8500         $6,299.05
                DEKA MSCI WORLD UCITS ETF         Purchase         6/9/2022     338        $118.6000       ($40,086.80)
                DEKA MSCI WORLD UCITS ETF         Purchase         7/5/2022      171       $104.3200       ($ 17,838.72)
                DEKA MSCI WORLD UCITS ETF         Purchase         7/5/2022     341        $104.3200       ($35,573.12)
                DEKA MSC! WORLD UCITS ETF         Purchase        7/29/2022      170       $114.9200       ($19,536:40)
                                                                                                                            Document 53-2




                DEKA MSC! WORLD UCITS ETF         Purchase         8/3/2022     340        $114.2800       ($38,855.20)
                DEKA MSCI WORLD UCITS ETF         Purchase         8/4/2022     169        $114.4800       ($19,347.12)
                DEKA MSCI WORLD UCITS ETF         Purchase        8/12/2022     169        $116.0700       ($ 19,615.83)
                DEKA MSCI WORLD UCITS ETF         Purchase        8/16/2022     340        $118.0600       ($40,140.40)
                DEKA MSC! WORLD UCITS ETF         Purchase        8/31/2022     340        $106.4500       ($36,193.00)
                DEKA MSC! WORLD UCITS ETF         Purchase        8/31/2022     341        $106.4500       ($36,299.45)
                DEKA MSC! WORLD UCITS ETF           Sale          8/31 /2022   (109)       $106.4500        $11 ,603.05
                                                                                                                            Filed 02/10/25




                DEKA MSCI WORLD UCITS ETF         Purchase         9/8/2022     339        $108.7300       ($36,859.47)
                DEKA MSCI WORLD UCITS ETF         Purchase       10/12/2022      171        $88.5100       ($15 ,135.21)
                DEKA MSC! WORLD UCITS ETF         Purchase        11 /4/2022     169        $95.7900       ($16,188.51)
                DEKA MSC! WORLD UCITS ETF         Purchase        11/4/2022     338         $95.7900       ($32,377.02)
                DEKA MSCI WORLD UCITS ETF         Purchase       11/21/2022     219        $103.8300       ($22,738.77)
                DEKA MSC! WORLD UCITS ETF           Sale         11/30/2022     (92)       $109.6900        $10,091.48
                DEKA MSCI WORLD UCITS ETF         Purchase        12/2/2022      170       $112.2000       ($19,074.00)
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                        Fund Name           Transaction Tvve   Trade Date    Shares   Price Per Share   Cost/Proceeds
                DEKA MSCI WORLD UCITS ETF       Purchase        12/5/2022      169       $109.6200       ($18,525.78)
                DEKA MSCI WORLD UCITS ETF       Purchase        12/6/2022     338        $107.9300       ($36,480.34)
                DEKA MSCI WORLD UCITS ETF       Purchase        12/7/2022      169       $108.3300       ($18,307.77)
                DEKA MSCI WORLD UCITS ETF       Purchase        12/9/2022      170       $109.4200       ($18,601.40)
                DEKA MSCI WORLD UCITS ETF       Purchase       12/16/2022      165       $105.9500       ($17,481.75)
                DEKA MSCI WORLD UCITS ETF       Purchase       12/19/2022     337        $103.0500       ($34,727.85)
                DEKA MSCI WORLD UCITS ETF       Purchase       12/19/2022     338        $103.0500       ($34,830.90)
                DEKA MSCI WORLD UCITS ETF       Purchase       12/28/2022     201        $114.9800       ($23,110.98)
                                                                                                                        Case 3:24-cv-00974-AN




                DEKA MSCI WORLD UCITS ETF       Purchase        1/10/2023      169       $125.8400       ($21,266.96)
                DEKA MSCI WORLD UCITS ETF       Purchase        1/ 10/2023     169       $125.8400       ($21,266.96)
                DEKA MSCI WORLD UCITS ETF       Purchase        1/17/2023      169       $128.1400       ($21,655.66)
                DEKA MSCI WORLD UCITS ETF       Purchase        1/18/2023     338        $126.4300       ($42,733.34)
                DEKA MSCI WORLD UCITS ETF       Purchase        1/20/2023     168        $126.6200       ($21,272.16)
                DEKA MSCI WORLD UCITS ETF       Purchase        1/27/2023      169       $127.5300       ($21,552.57)
                DEKA MSCI WORLD UCITS ETF       Purchase        1/30/2023     167        $126.3700       ($21,103.79)
                                                                                                                        Document 53-2




                DEKA MSCI WORLD UCITS ETF       Purchase         2/ 1/2023    168        $129.5000       ($21,756.00)
                DEKA MSCI WORLD UCITS ETF       Purchase        2/13/2023     203        $125. 1500      ($25,405.45)
                DEKA MSCI WORLD UCITS ETF       Purchase        2/ 15/2023    336        $127.4800       ($42,833.28)
                DEKA MSCI WORLD UCITS ETF         Sale          2/28/2023     (50)       $118.7900         $5,939.50
                DEKA MSCI WORLD UCITS ETF       Purchase        3/ 10/2023    236        $117.4900       ($27,727.64)
                DEKA MSCI WORLD UCITS ETF       Purchase        3/ 15/2023     168       $118.1700       ($19,852.56)
                DEKA MSCI WORLD UCITS ETF       Purchase        3/17/2023     335        $120.3900       ($40,330.65)
                                                                                                                        Filed 02/10/25




                DEKA MSCI WORLD UCITS ETF       Purchase        3/ 17/2023    336        $120.3900       ($40,451.04)
                DEKA MSCI WORLD UCITS ETF       Purchase        4/11/2023     518        $123.3000       ($63,869.40)
                DEKA MSCI WORLD UCITS ETF       Purchase        4/ 14/2023     167       $125.9500       ($21,033.65)
                DEKA MSCI WORLD UCITS ETF       Purchase        4/26/2023     235        $123.8400       ($29,102.40)
                DEKA MSCI WORLD UCITS ETF       Purchase         5/9/2023      168       $125.1000       ($21,016.80)
                DEKA MSCI WORLD UCITS ETF       Purchase         5/9/2023      168       $125.1000       ($21,016.80)
                DEKA MSCI WORLD UCITS ETF       Purchase         5/9/2023     168        $125.1000       ($21,016.80)
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                              Fund Name               Transaction Type   Trade Date    Shares   Price Per Share   Cost/Proceeds
                      DEKA MSCI WORLD UCITS ETF           Purchase        5/17/2023      336       $116.9800       ($39,305.28)
                      DEKA MSCI WORLD ucns-ETF              Sale          5/31/2023     (880)      $105.2600        $92,628.80
                      DEKA MSCI WORLD UCITS ETF           Purchase         6/5/2023      165       $105.2000       ($17,358.00)
                      DEKA MSCI WORLD UCITS ETF           Purchase         6/6/2023      165       $106.1900       ($17,521.35)
                      DEKA MSCI WORLD UCITS ETF           Purchase         6/8/2023     168       $106.2000        ($17,841.60)
                      DEKA MSCI WORLD UCITS ETF           Purchase        6/ 14/2023    330       $112.8600        ($37,243.80)
                      DEKA MSCI WORLD UCITS ETF           Purchase        6/29/2023     332       $113.3700        ($37,638.84)
                      DEKA MSCI WORLD UCITS ETF           Purchase         8/8/2023     166       $109.6900        ($18,208.54)
                                                                                                                                  Case 3:24-cv-00974-AN




                      DEKA MSCI WORLD UCITS ETF           Purchase         8/8/2023     395       $109.6900        ($43,327.55)
                      DEKA MSCI WORLD UCITS ETF   -       Purchase        8/10/2023     166       $109.0300        ($18,098.98)
                      DEKA MSC! WORLD UCITS ETF           Purchase        8/17/2023     167       $105.0500        ($17,543.35)
                      DEKA MSCI WORLD UCITS ETF           Purchase        8/23/2023     330        $98.7500        ($32,587.50)
                      DEKA MSC! WORLD UCITS ETF           Purchase        8/25/2023     166        $98.8400        ($16,407.44)
                      DEKA MSC! WORLD UCITS ETF           Purchase        8/31/2023      86       $101.7100         ($8,747.06)
                . .
                      DEKA MSCI WORLD UCITS ETF           Purchase        9/26/2023     333        $90.1700        ($30,026.61)
                                                                                                                                  Document 53-2




                      DEKA MSC! WORLD UCITS ETF           Purchase        9/27/2023     332        $89.4200        ($29,687.44)
                      DEKA MSC! WORLD UCITS ETF           Purchase        9/29/2023     165        $95 .6200       ($15,777.30)
                      DEKA MSCI WORLD UCITS ETF           Purchase        10/5/2023     331        $95.7900        ($31,706.49)
                      DEKA MSCI WORLD UCITS ETF           Purchase       10/ 18/2023    334       $103.7700        ($34,659.18)
                      DEKA MSCI WORLD UCITS ETF           Purchase       10/23/2023     331       $102.8100        ($34,030.11)
                      DEKA MSCI WORLD UCITS ETF           Purchase        11 /8/2023    344       $109.3900        ($37,630.16)
                      DEKA MSCI WORLD UCITS ETF           Purchase       11/14/2023     165       $105.7500        ($17,448.75)
                                                                                                                                  Filed 02/10/25




                      DEKA MSCI WORLD UCITS ETF           Purchase       11 /24/2023    308       $107.6400        ($33,153.12)
                      DEKA MSCI WORLD UCITS ETF             Sale         11/30/2023    (153)      $110.2700         $16,871.31
                      DEKA MSC! WORLD UCITS ETF           Purchase        12/7/2023     264       $114.8100        ($30,309.84)
                      DEKA MSCI WORLD UCITS ETF           Purchase       12/18/2023     331       $121.1400        ($40,097.34)
                      DEKA MSCI WORLD UCITS ETF           Purchase       12/20/2023     329       $121.4300        ($39,950.47)
                      DEKA MSCI WORLD UCITS ETF           Purchase       12/29/2023     330       $108.5700        ($35,828.10)
                      DEKA MSCI WORLD UCITS ETF           Purchase         1/9/2024     462       $102.7400        ($47,465.88)
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                        Fund Name            Transaction Tvoe   Trade Date     Shares    Price Per Share   Cost/Proceeds
                 DEKA MSCI WORLD UCITS ETF       Purchase        1/24/2024       331        $100.7600       ($33,351 .56)
                 DEKA MSCI WORLD UCITS ETF       Purchase        1/30/2024       342        $104.1800       ($35 ,629.56)
                 DEKA MSCI WORLD UCITS ETF       Purchase         2/2/2024       331        $100.7100       ($33 ,335.01 )
                 DEKA MSCI WORLD UCITS ETF       Purchase         2/8/2024        184       $103.7700       ($19,093 .68)
                 DEKA MSCI WORLD UCITS ETF       Purchase        2/21 /2024      329        $105.2700       ($34,633.83) _
                 DEKA MSCI WORLD UCITS ETF       Purchase        2/26/2024        199       $104.5400       ($20,803.46)
                 DEKA MSCI WORLD UCITS ETF         Sale          2/29/2024       (17)       $103.9300         $1 ,766.81
                .DEKA MSCI WORLD UCITS ETF       Purchase         3/4/2024       330         $99.5400       ($32,848 .20)
                                                                                                                             Case 3:24-cv-00974-AN




                 DEKA MSCI WORLD UCITS ETF       Purchase         3/6/2024       331         $97.6300       ($32,315.53)
                 DEKA MSCI WORLD UCITS ETF       Purchase        3/19/2024       329         $99.9600       ($32,886.84)
                 DEKA MSCI WORLD UCITS ETF       Purchase        3/21 /2024      164        $100.8200       ($16,534.48)
                 DEKA MSCI WORLD UCITS ETF       Purchase         4/8/2024       246         $90.0000       ($22,140.00)
                 DEKA MSCI WORLD UCITS ETF       Purchase        4/10/2024       331         $89.0000       ($29,459.00)
                 DEKA MSCI WORLD UCITS ETF       Purchase        4/16/2024       165         $93.3900       ($15,409.35)
                 DEKA MSCI WORLD UCITS ETF       Purchase         5/7/2024       595         $93.7800       ($55,799.10)
                                                                                                                             Document 53-2




                 DEKA MSCI WORLD UCITS ETF       Purchase        5/23/2024       471         $91.4000       ($43,049.40)
                 DEKA MSCI WORLD UCITS ETF       Purchase        5/28/2024       400        $92.0000        ($36,800.00)
                 DEKA MSCI WORLD UCITS ETF         Sale          5/31 /2024     (12 1)       $95.0500        $11 ,501.05
                 DEKA MSCI WORLD UCITS ETF       Purchase        6/ 12/2024      330         $93.6800       ($30,914.40)
                 DEKA MSCI WORLD UCITS ETF       Purchase        6/ 14/2024_     330         $93.3900       ($30,818 .70)
                 DEKA MSCI WORLD UCITS ETF       Purchase        6/27/2024       331         $94.1900       ($31 ,176.89)
                 DEKA MSCI WORLD UCITS ETF       Purchase        7/10/2024       416         $72.5400       ($30,176.64)
                                                                                                                             Filed 02/10/25




                 DEKA MSCI WORLD UCITS ETF       Purchase        7/11/2024        199        $73.3900       {$14,604.61)
                 DEKA MSCI WORLD UCITS ETF       Purchase        7/11/2024       331         $73.3900       ($24,292.09)
                 DEKA MSCI WORLD UCITS ETF       Purchase        7/26/2024       329         $72.5600       ($23,872.24)
                 DEKA MSCI WORLD UCITS ETF       Purchase        7/26/2024       331         $72.5600       ($24,017.36)
                 DEKA MSCI WORLD UCITS ETF       Purchase        8/19/2024       330         $83.2800       ($27,482.40)
                 DEKA MSCI WORLD UCITS ETF       Purchase        8/19/2024       331         $83.2800       ($27,565.68)
                 DEKA MSCI WORLD UCITS ETF       Purchase        8/30/2024       234         $83.3200       ($19,496.88)
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                                Fund Name                     Transaction Type     Trade Date    Shares    Price Per Share   Cost/Proceeds
                         DEKA MSCI WORLD UCITS ETF                Purchase          9/ 11/2024    166         $78.4000         ($13,014.40)
                         DEKA MSCI WORLD UCITS ETF                Purchase          9/17/2024     165         $80.6400         ($13 ,305.60)
                         DEKA MSCI WORLD UCITS ETF                Purchase          9/17/2024     397         $80.6400         ($32,014.08)
                         DEKA MSCI WORLD UCITS ETF                Purchase          9/ 18/2024    330         $80.9000         ($26,697.00)
                        DEKA MSCI WORLD UCITS ETF              End Holdings         10/1/2024    56,159                      ($4,848,532.93)

                DEKA MSCI USA CLIMATE CH.ANGE ESG UCITS ETF   Beginning Holdin2s   3/19/2021      18,370
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        Purchase        3/30/2021      4,126      $132.9500       ($548,551 .70)
                                                                                                                                               Case 3:24-cv-00974-AN




                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale          4/ 16/2021     (242)      $134.3100         $32,503.02
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale          5/20/2021      (243)      $133.2700         $32,384.61
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        Purchase        5/27/2021      3,169      $136.5600       ($432,758.64)
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        Purchase         6/9/2021       903       $131.8400       ($119,051.52)
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale           6/9/2021       (38)      $131.8400          $5,009.92
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale          6/21/2021      (346)      $130.0800         $45,007.68
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale          6/29/2021      (279)      $155.9500         $43,510.05
                                                                                                                                               Document 53-2




                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale           7/2/2021      (472)      $159.7400         $75,397.28
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale          7/26/2021      (334)      $165.0900         $55,140.06
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        Purchase         8/3/2021     • 558       $171.2300        ($95,546.34)
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale          8/25/2021      (278)      $169.8400         $47,215.52
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF      • Purchase        8/30/2021       278       $168.0300        ($46,712.34)
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale          9/16/2021      (487)      $157.6000         $76,751.20
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale          9/17/2021     (1,113)     $156.4200        $174,095.46
                                                                                                                                               Filed 02/10/25




                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale          9/17/2021     (2,158)     $156.4200        $337,554.36
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale          9/20/2021      (279)      $154.2500         $43,035.75
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        Purchase        9/29/2021       279       $146.0200        ($40,739.58)
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        Purchase         10/1/2021      278       $147,0600        ($40,882.68)
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        Purchase         10/4/2021      140       $147.1400        ($20,599.60)
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        Purchase         10/5/2021      139       $149.4600        ($20,774.94)
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        Purchase        10/20/2021     3,439      $158.4500       ($544,909.55)
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                                  Fund Name                   Transaction Tvoe   Trade Date   Shares    Price Per Share • Cost/Proceeds
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/22/2021     111        $163.4800        ($18,146.28 )
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/22/2021    5,180       $163.4800       ($846,826.40)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/25/2021    5,902       $164.2200       ($969,226.44)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/27/2021     836        $162.3500       ($135,724.60)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/27/2021    4,538       $162.3500       ($736,744.30)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/28/2021     139        $164.4600        ($22,859.94)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF         Sale         11/22/2021    (411)       $174.2400         $71,612.64
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase       11/30/2021     684        $169.2400       ($115,760.16)
                                                                                                                                            Case 3:24-cv-00974-AN




                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale         12/13/2021    (284)       $166.8400         $47,382.56
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        1/13/2022     284 .      $149.5900        ($42,483.56)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase        1/19/2022    141         $145.1100        ($20,460.51)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase        1/25/2022    283         $145.4800        ($41 ,170.84)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase        1/25/2022    642         $145.4800        ($93 ,398.16)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase        1/27/2022    779         $144.6400       ($112,674.56)
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        1/28/2022    679         $145.9100        ($99,072.89)
                                                                                                                                            Document 53-2




                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        1/31/2022    142         $148.0700        ($21 ,025.94)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase        2/2/2022     283         $148.7100        ($42,084.93)
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          2/16/2022   (284)        $146.4900         $41,603.16
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase        2/22/2022    170         $138.1900        ($23,492.30)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF         Sale          2/22/2022   (283)        $138.1900         $39,107.77
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF         Sale           3/1/2022   (283)        $132.2200         $37,418.26
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale           3/1/2022   (570)        $132.2200         $75,365.40
                                                                                                                                            Filed 02/10/25




                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         3/2/2022     141        $135.6800        ($19,130.88)
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase         3/3/2022     142        $133.9700        ($19,023.74)
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF          Sale          3/10/2022    (432)       $126.0300         $54,444.96
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF         Sale          3/10/2022    (992)       $126.0300        $125,021.76
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          3/10/2022   (1,090)      $126.0300        $137,372.70
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          3/10/2022   (1,133)      $126.0300        $142,791.99
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          3/16/2022    (566)       $125.1900         $70,857.54
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                                 Fund Name                   Transaction Type   Trade Date    Shares   Price Per Share   Cost/Proceeds
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          3/18/2022     (305)      $131.2400        $40,028.20
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          3/18/2022     (595)      $131.2400        $78,087.80
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        3/21/2022      326       $130.1900       ($42,441 .94)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          3/29/2022     (283)      $139.1400        $39,376.62
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          3/30/2022     (383)      $138.5400        $53,060.82
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         4/7/2022      142       $129.3800       ($18,371.96)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        4/13/2022      283       $127.4900       ($36,079.67)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        4/27/2022      283       $121.2400       ($34,310.92)
                                                                                                                                          Case 3:24-cv-00974-AN




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          4/28/2022     (283)      $127.0500        $35,955 .15
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         5/3/2022      283       $122.8600       ($34,769.38)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         5/3/2022      425       $122.8600       ($52,215.50)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         5/3/2022      716       $122.8600       ($87,967 .76)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         5/4/2022      212       $126.0600       ($26,724.72)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         5/4/2022      312       $126.0600       ($39,330.72)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         5/5/2022      283       $118.6300       ($33,572.29)
                                                                                                                                          Document 53-2




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         5/5/2022      582       $118.6300       ($69,042.66)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         5/5/2022      709       $118.6300       ($84,108.67)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         5/6/2022      283       $114.4900       ($32,400.67)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        5/6/2022       568       $114.4900       ($65,030.32)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        5/10/2022      142       $109.4900       ($15,547.58)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        5/10/2022      283       $109.4900       ($30,985.67)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        5/ 12/2022     542       $107.9000       ($58,481 .80)
                                                                                                                                          Filed 02/10/25




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          5/13/2022     (454)      $113.0100        $51,306.54
                DEKA MSCI USA CLIMATE CHANGE ESGUCITS ETF        Purchase        5/ 19/2022     177       $106.4400       ($18,839.88)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        5/20/2022      567       $108.0000       ($61 ,236.00)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        5/23/2022      851       $108.6300       ($92,444.13)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        5/31/2022       83       $118.8500        ($9,864.55)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         6/2/2022      426       $123.4100       ($52,572.66)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          6/14/2022     (454)      $110.7200        $50,266.88
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                                 Fund Name                   Transaction Type   Trade Date   Shares   Price Per Share   Cost/Proceeds
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale         6/15/2022    (639)      $113.4400        $72,488.16
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale         6/21/2022    (568)      $108.6800        $61,730.24
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale         6/28/2022    (142)      $102.7800        $14,594.76
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        • Sale         6/28/2022    (284)      $102.7800        $29,189.52
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         7/5/2022     284       $104.3200       ($29,626.88)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale           7/8/2022    (390)      $107.9300        $42,092.70
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        7/13/2022     284       $105.1100       ($29,851.24)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          7/19/2022    (298)      $109.1900        $32,538.62
                                                                                                                                         Case 3:24-cv-00974-AN




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          7/19/2022    (511)      $109.1900        $55,796.09
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        7/26/2022     142       $105.2000       ($14,938.40)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          8/16/2022    (896)      $118.0600       $105,781.76
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          8/25/2022    (436)      $113.2200        $49,363.92
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        8/30/2022     284       $107.8600       ($30,632.24)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase         9/1/2022     285       $106.4900       ($30,349.65)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          9/12/2022    (567)      $112.3800        $63,719.46
                                                                                                                                         Document 53-2




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          10/3/2022    (284)       $85.4000        $24,253.60
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale          10/5/2022    (284)       $91.1000        $25,872.40
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        10/6/2022     568        $90.1700       ($51 ,216.56)
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/10/2022     142        $86.6900       ($12,309.98)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/10/2022     284        $86.6900       ($24,619.96)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Sale         10/13/2022    (568)       $89.5600        $50,870.08
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/14/2022     284        $87.5500       ($24,864.20)
                                                                                                                                         Filed 02/10/25




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/19/2022     143        $88.5700       ($12,665.51)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase       10/28/2022     263        $93.8300       ($24,677.29)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase        11/7/2022     511        $93.4400       ($47,747.84)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase       11/10/2022     143        $99.4900       ($14,227.07)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase       11/14/2022     284       $104.3900       ($29,646.76)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase       11/14/2022     284       $104.3900       ($29,646.76)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       Purchase       11/16/2022     142       $105.2300       ($14,942.66)
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                                 Fund Name                     Transaction Type   Trade Date     Shares      Price Per Share   Cost/Proceeds
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase       11 /21 /2022      149         $103.8300       ($15,470.67)
                DEKA MSCI USA CLIMATE CH.A.NGE ESG UCITS ETF         Sale         11/23/2022     (1,676)        $106.6500       $178,745.40
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase       11/28/2022        214         $104.9600       ($22,461.44)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale         11/28/2022      (499)         $104.9600        $52,375.04
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale         11/30/2022      (928)         $109.6900       $101 ,792.32
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase        12/1/2022        139         $111.1100       ($15,444.29)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase        12/5/2022       279          $109.6200       ($30,583.98)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase        12/7/2022        140         $108.3300       ($15,166.20)
                                                                                                                                               Case 3:24-cv-00974-AN




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase        12/7/2022       279          $108.3300       ($30,224.07)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase        12/8/2022       278          $111.3600       ($30,958.08)
                DEKA MSCI USA CLIMATE CRA.NGE ESG UCITS ETF          Sale          12/8/2022      (104)         $111.3600        $11 ,581.44
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase       12/20/2022        140         $103.2100       ($14,449.40)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase       12/20/2022       278          $103.2100       ($28,692.38)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase       12/21/2022       279          $115.7800       ($32,302.62)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase       12/28/2022        139         $114.9800       ($15,982.22)
                                                                                                                                               Document 53-2




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase         1/3/2023       278          $118.7500       ($33,012.50)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase         1/4/2023       277          $121.2100       ($33,575.17)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase         1/5/2023        139         $120.6200       ($16,766.18)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase         1/6/2023       278          $124.5300       ($34,619.34)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          1/25/2023      (173)         $126.8200        $21,939.86
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           2/1/2023      (195)         $129.5000        $25,252.50
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           2/3/2023      (585)         $127.6100        $74,651.85
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                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           2/7/2023      (279)         $125.3300        $34,967.07
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           2/8/2023      (306)         $122.9100        $37,610.46
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           3/2/2023      (362)         $119.5800        $43,287.96
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF           Sale          3/27/2023      (301)         $117.8100        $35,460.81
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          4/ 18/2023     (174)         $126.2100        $21 ;960.54
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          4/21 /2023     (230)         $125.5300        $28,871.90
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          4/21 /2023    (1 ,03 1)      $125.5300       $129,421.43
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                                 Fund Name                      Transaction Type   Trade Date    Shares    Price Per Share   Cost/Proceeds
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF            Sale          4/24/2023    (2,009)      $127.0900       $255,323.81
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF            Sale          5/5/2023      (418)       $126.5900        $52,914.62
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale          5/5/2023     (1,392)      $126.5900       $176,213.28
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF            Sale          5/8/2023      (752)       $126.8800        $95,413.76
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF            Sale          5/8/2023     (1,114)      $126.8800       $141,344.32
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale         5/22/2023      (416)       $110.1800        $45,834.88
                OEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF            Sale         5/23/2023      (279)       $108.7800        $30,349.62
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale         5/31/2023      (204)       $105.2600        $21 ,473.04
                                                                                                                                             Case 3:24-cv-00974-AN




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale          6/1 /2023     (243)       $103.6300        $25,182.09
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF            Sale          6/2/2023      (553)       $107.7800        $59,602.34
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale          6/8/2023      (277)       $106.2000        $29,417.40
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale         6/13/2023      (277)       $106.7800        $29,578.06
                DEKA MSCI USA CLIMATE CH..I\NGE ESG UCITS ETF         Sale         6/16/2023      (277)       $113.5900        $31,464.43
                DEKA MSCI USA CLIMATE CH..I\NGE ESG UCITS ETF         Sale         6/27/2023      (346)       $113.6100        $39,309.06
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale         6/30/2023      (138)       $110.3700        $15,231.06
                                                                                                                                             Document 53-2




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF           ·sale          7/6/2023      (139)       $105. 1000       $14,608.90
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale         7/21/2023     (1,038)      $109.0600       $113,204.28
                DEKA MSCI USA CLIMATE CH..I\NGE ESG UCITS ETF         Sale         7/26/2023      (1 39)      $109.3000        $15,192.70
                DEKA MSC! USA CLIMATE CH..I\NGE ESG UCITS ETF         Sale         7/28/2023      {138)       $108.6200        $14,989.56
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF            Sale          8/4/2023     {1,661)      $108.8100       $180,733.41
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale         8/25/2023      (277)        $98.8400        $27,378.68
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Purchase       8/31/2023        48        $101.7100        ($4,882.08)
                                                                                                                                             Filed 02/10/25




                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale          9/5/2023      (138)       $100.3200        $13,844.16
                DEKA MSCI USA CLIMATE CH.ANGE ESG UCITS ETF         Purchase       9/21/2023      1,525        $91.5900      ($139,674.75)
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF            Sale         10/ 13/2023    (278)        $99.9100        $27,774.98
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF          Purchase       10/ 17/2023    181         $103.0100       ($18,644.81)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Purchase        11/2/2023     225         $105.0800       ($23,643.00)
                DEKA MSC! USA CLIMATE CHANGE ESG UCITS ETF          Purchase        11/2/2023     278         $105.0800       ($29,212.24)
                                                                                   11/13/2023    (289)        $104.2000        $30, 113.80
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                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF            Sale




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                                  Fund Name                     Transaction Type   Trade Date    Shares    Price Per Share   Cost/Proceeds
                DEK.A MSCI USA CLIMATE CI;IANGE ESG UCITS ETF         Sale         11/15/2023     (195 )      $107.8200        $21 ,024.90
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF         Purchase       11/24/2023      469        $107.6400       ($50,483 .16)
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale         11/30/2023      (98)       $] 10.2700       $10,806.46
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase        12/6/2023      243        $116.1100       ($28,214.73)
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase       12/ 12/2023     139        $119.6400       ($16,629.96)
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          1/10/2024     (174)       $103.7700        $18~055.98
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          1/19/2024     (138)       $101.7800        $14,045.64
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF           Sale          1/19/2024     (325)       $101.7800        $33,078.50
                                                                                                                                                Case 3:24-cv-00974-AN




                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          1/25/2024     (173)       $100.7700        $17,433.21
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           2/2/2024     (491)       $100.7100        $49,448.61
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           2/9/2024     (111)       $104.5000        $11 ,599.50
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF           Sale          2/29/2024     (962)       $103.9300        $99,980.66
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           3/4/2024     (269)        $99.5400        $26,776.26
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase        3/ 12/2024     135        $100.1800       ($13 ,524.30)
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase        3/20/2024       94        $100.2700        ($9,425.38)
                                                                                                                                                Document 53-2




                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           4/8/2024     (268)        $90.0000        $24,120.00
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase         4/9/2024      360         $91.0000       ($32,760.00)
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase        4/22/2024      270         $94.1900       ($25,431 .30)
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          5/16/2024     (944)        $91.7700        $86,630.88
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF         Purchase        5/21/2024     1,348        $92.8200      ($125, 121.36)
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF         Purchase        5/31/2024     4,450        $95.0500      ($422,972.50)
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           6/7/2024      (47)        $96.5500         $4,537.85
                                                                                                                                                Filed 02/10/25




                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          6/17/2024     (512)        $95.0000        $48,640.00
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          6/21/2024     (310)        $97.1800        $30,125.80
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF           Sale           8/7/2024     (621)        $72.6200        $45,097.02
                DEK.A MSC! USA CLIMATE CHANGE ESG UCITS ETF         Purchase        8/30/2024     8,639        $83.3200      ($7 19,801.48) .
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale           9/6/2024    (2,344)       $80.6300       $188,996.72
                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale          9/10/2024     (3 19)       $78.0900       $24,910.71
                                                                                    9/19/2024     (394)        $80.9800       $31,906.12
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                DEK.A MSCI USA CLIMATE CHANGE ESG UCITS ETF           Sale




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                                  Fund Name                    Transaction Tvpe      Trade Date     Shares   Price Per Share   Cost/Proceeds
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF          Sale             9/20/2024      (394)      $86.5200          $34,088.88
                 DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF        Purchase           10/ 1/2024     650        $89.1300         ($57,934.50)
                DEKA MSCI USA CLIMATE CHANGE ESG UCITS ETF       End Holdin2s         10/1/2024     37,955                     ($2,903,528.37)

                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS
                                    ETF                        Bei:dnnin2 Holdin2s   3/19/2021      2,033
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF         Purchase         5/7/2021       124       $137.8100        ($17,088.44)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF         Purchase        5/12/2021       157       $133.3900        ($20;942.23)
                                                                                                                                                 Case 3:24-cv-00974-AN




                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF         Purchase        5/27/2021       358       $136.5600        ($48,888.48)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF         Purchase         6/1/2021       181       $134.5100        ($24,346.31)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF         Purchase         6/7/2021       356       $133.9500        ($47,686.20)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF         Purchase         6/9/2021       360       $131.8400        ($47,462.40)
                DEKA MSCI WORLO CLIMATE CHANGE ESG UCITS ETF         Purchase        7/ 13/2021      181       $161.5900        ($29,247.79)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF         Purchase        7/16/2021       181       $159.8500        ($28,932.85)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF         Purchase        7/26/2021       146       $165.0900        ($24,103.14)
                                                                                                                                                 Document 53-2




                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         7/26/2021       360       $165.0900        ($59,432.40)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         7/27/2021       180       $164.5700        ($29,622.60)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         8/17/2021       360       $170.6600        ($61 ,437.60)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         8/20/2021       359       $167.7900        ($60,236.61)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         9/15/2021       178       $157.9100        ($28 ,107.98)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         9/17/2021       179       $156.4200        ($27,999.18)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         10/8/2021       361       $152.4800        ($55,045.28)
                                                                                                                                                 Filed 02/10/25




                DEKA MSC! WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         10/18/2021      358       $159.4300        ($57 ,075.94)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase          11/9/2021      363       $173.8200        ($63 ,096.66)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         11/12/2021      363       $169.0900        ($61,379.67)
                DEKA MSC! WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         11/17/2021      145       $171.7400        ($24,902.30)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         11/18/2021      361       $171.3500        ($61,857.35)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         1 l/3_0/2021     97       $169.2400 ·      ($16,416.28)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase         12/10/2021      366       $169.0600        ($61,875.96)
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                                 Fund Name                     Transaction Type   Trade Date     Shares   Price Per Share   Cost/Proceeds
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase       12/ 10/2021      514       $169.0600       ($86,896.84)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase       12/ 16/2021      147       $162.7200       ($23,919.84)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase       12/22/2021       367       $165.4400       ($60,716.48)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase         1/7/2022       182       $156.9700       ($28,568.54)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        1/19/2022       184       $145.1100       ($26,700.24)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        1/20/2022       367       $142.7300       ($52,381.91)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase         2/4/2022       183       $145.3900       ($26,606.37)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        2/16/2022       367       $146.4900       ($53,761.83)
                                                                                                                                             Case 3:24-cv-00974-AN




                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        2/22/2022       184       $138. 1900      ($25,426.96)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        3/11/2022       183       $122.6300       ($22,441.29)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        3/25/2022       219       $133 .7000      ($29,280.30)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase         4/8/2022       367       $128;1500       ($47,031.05)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        4/27/2022       147       $121.2400       ($17,822.28)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        5/ 10/2022      184       $109.4900       ($20,146.16)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        5/ 19/2022      183       $106.4400       ($19,478.52)
                                                                                                                                             Document 53-2




                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        5/31/2022       123       $118.8500       ($14,618 .55)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase         6/7/2022       371       $121.6700       ($45,139.57)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase         6/8/2022       184       $122.4000       ($22,521.60)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        9/30/2022       189        $83 .1200      ($15,709.68)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        11/1/2022       185        $93.7700       ($17,347.45)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase       11 / 18/2022     185       $105.4200       ($19,502.70)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF         Sale         11 /30/2022     (315)      $109.6900        $34,552.35
                                                                                                                                             Filed 02/10/25




                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase       12/19/2022       182       $103.0500       ($18,755.10)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase       12/ 19/2022      363       $103.0500       ($37,407.15)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        1/ 17/2023      181       $128.1400       ($23,193.34)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        1/17/2023       364       $128.1400       ($46,642.96)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase         3/7/2023       363       $119.5900       ($43,411.17)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase        3/24/2023       288       $120.7100       ($34,764.48)
                                                                                                                             ($45,012.24)
                                                                                                                                             Page 30 of 34




                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF       Purchase       4/12/2023        364       $123.6600




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                                 Fund Name                        Transaction Type   Trade Date   Shares   Price Per Share   Cost/Proceeds
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        5/17/2023     183       $116.9800        ($21,407.34)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF            Sale          5/31/2023    (145)      $105.2600         $15,262.70
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        7/25/2023     361       $108 .3000       ($39,096.30)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        8/31/2023      1        $101. 7100         ($101.71)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        9/5/2023       181      $100.3200        ($18,157.92)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        9/22/2023      181       $90.8500        ($16,443.85)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase       10/12/2023     216        $99.2500        ($21,438.00) .
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase       10/31/2023     211       $102.7700        ($21 ,684.47)
                                                                                                                                                Case 3:24-cv-00974-AN




                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        11/6/2023     181       $107.2500        ($19,412.25)
                DEKA MSCI WORLD CLIMATE C:E-JANGE ESG UCITS ETF       Purchase        11/6/2023     363       $107.2500        ($38,931.75)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchas~       11/27/2023     374       $107.9600      • ($40,377.04)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF            Sale         11/30/2023     (90)      $110.2700         $9,924.30
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        1/4/2024      217      $102.3000        ($22,199.10)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        2/6/2024      360      $102.6100        ($36,939.60)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF            Sale         2/29/2024     (435)      $103.9300        $45,209.55
                                                                                                                                                Document 53-2




                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        3/6/2024      175        $97.6300       ($17,085.25)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase       3/22/2024      174       $93.8600        ($16,331.64)
                DEKA MSC! WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        4/8/2024      356        $90.0000       ($32,040.00)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase       4/26/2024      410       $94.1200        ($38,589.20)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        5/8/2024    • 178        $93.5900       ($16,659.02)
                DEKA MSC! WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase       5/28/2024      389        $92.0000       ($35,788.00)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase       5/31/2024     1,530       $95.0500      ($145,426.50)
                                                                                                                                                Filed 02/10/25




                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase       6/12/2024      574       $93.6800        ($53,772.32)
                DEKA MSC! WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase       7/25/2024      215       $71.4100        ($15,353.15)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        8/7/2024      383       $72.6200        ($27,813.46)
                DEKA MSC! WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase        8/7/2024      537       $72.6200        ($38,996.94)
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF            Sale         8/13/2024     (383)      $78.5000         $30,065.50
                DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS ETF          Purchase       8/20/2024      383       $83.5600        ($32,003.48)
                DEKA MSCI WORLD CLIMATE CBANGE ESG UCITS ETF                         8/30/2024                $83.3200        ($32,411.48)
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                                                                      Purchase                     389




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                                  Fund Name                      Transaction Tvoe     Trade Date      Shares    Price Per Share   Cost/Proceeds
                DEK.A MSCI WORLD CLIMATE CHANGE ESG UCITS ETF        Purchase          8/30/2024       3,540       $83.3200        ($294,952.80)
                 DEKA MSCI WORLD CLIMATE CHANGE ESG UCITS
                                     ETF                          End Holdin,zs        10/1/2024      25,921                      ($2,840,786.42)

                            DEKA SP 500 UCITS ETF               Be2:innin2 Holdings    3/19/2021         0
                            DEKA SP 500 UCITS ETF                     Purchase         3/20/2024      1,070       $100.2700        ($107,288.90)
                            DEKA SP 500 UCITS ETF                     Purchase         4/ 10/2024      153         $89.0000         ($13 ,617.00)
                            DEKA SP 500 UCITS ETF                       Sale           6/21 /2024       (6)        $97.1800            $583.08
                                                                                                                                                    Case 3:24-cv-00974-AN




                            DEKA SP 500 UCITS ETF                     Purchase          7/8/2024       151         $73.0500         (Sl 1,030.55)
                            DEKA SP 500 UCITS ETF                       Sale           7/ 12/2024     (151)        $73.4200          $11,086.42
                            DEK.A SP 500 UCITS ETF                    Purchase          9/5/2024        30         $80.8300       . ($2,424.90)
                            DEKA SP 500 UCITS ETF                     Purchase          9/6/2024        73         $80.6300          ($5,885.99)
                            DEKA SP 500 UCITS ETF                       Sale           9/20/2024       (19)        $86.5200           $1 ,643.88
                            DEKA SP 500 UCITS ETF                 End Holdin2s         10/1/2024      1,301                        ($126,933.96)
                                                                                                                                                    Document 53-2




                                     HOF                        Be1?innin2 Holdines   . 3/19/2021        0
                                     HOF                              Purchase          4/ 1/2022      7,000      $134.3805 .      ($940,663.50)
                                     HOF                              Purchase          7/20/2022      8,750      $111.4611        ($975,284.63)
                                     HOF                              Purchase          9/ 12/2023     5,000      $96.4202         ($482,101.00)
                                     HOF                              Purchase          7/17/2024     12,000      $73.2031         ($878,437.20)
                                     HOF                           End Holdin2s         10/1/2024     32,750                      ($3 276.486.33)
                                                                                                                                                    Filed 02/10/25




                               SUDINVEST A290                   Beginning Holdings     3/19/2021         0
                               SUDINVEST A290                        Purchase           8/3/2021       7,978      $170.9632       ($1,363,944.41)
                               SUDINVEST A290                          Sale            11 / 11/2021   (5,709)     $167.5954         $956,801.91
                               SUDINVEST A290                          Sale            11 / 12/2021   (2,269)     $168.9855         $383,428.14
                               SUDINVEST A290                     End Holdin2s          10/1/2024       0                           ($23. 714.36)

                                BFF Strateeie 1                 Be,zinning Holdings    3/19/2021        0
                                                                                                                                                    Page 32 of 34




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                   Fund Name        Transaction Type      Trade Date     Shares    Price Per Share   CosUProceeds
                  BFF Strategie 1       Purchase           2/17/2022       800        $145.1569       ($116,125.52)
                  BFF Strategie 1       Purchase            3/9/2022       300        $128.6400        ($38,592.00)
                  BFF Strategie 1       Purchase           3/ 16/2022     2,000       $123.7826       ($247,565.20)
                  BFF Strategie 1         Sale             4/27/2022     (1,100)      $122.0201        $134,222.11
                  BFF Strategie 1       Purchase            6/2/2022       500        $120.9207        ($60,460.35)
                  BFF Strategie 1       Purchase           6/28/2022       315        $104.3602        ($32,873.46)
                  BFF Strategie 1       Purchase           7/25/2022      1,200       $108.8908       ($130,668.96)
                  BFF Strategie 1       Purchase           9/30/2022       265         $85.4011        ($22,631.29)
                                                                                                                       Case 3:24-cv-00974-AN




                  BFF Strategie 1       Purchase          10/18/2022       565         $92.4523        ($52,235.55)
                  BFF Strategie 1       Purchase          11 / 11/2022     670        $103.4146        ($69,287.78)
                  BFF Strategie 1       Purchase          11/15/2022      1,400       $107.9539       ($15 1,135.46)
                  BFF Strategie 1       Purchase            1/9/2023       350        $125.0000        ($43,750.00)
                  BFF Strategie 1         Sale              3/ 1/2023     (910)       $117.9793        $107,361.16
                  BFF Strategie 1       Purchase           6/ 13/2023      910        $107.1400        ($97,497.40)
                  BFF Strategie 1       Purchase           7/31/2023       730        $110.1289        ($80,394.10)
                                                                                                                       Document 53-2




                  BFF Strategie 1         Sale             8/15/2023      (720)       $106.0605         $76,363.56
                  BFF Strategie 1       Purchase           8/28/2023       775         $99.7500        ($77,306.25)
                  BFF Strategie 1       Purchase           9/26/2023       835         $90.5639        ($75,620.86)
                  BFF Strategie 1         Sale            10/12/2023     (1,200)       $98.6716        $118,405.92
                  BFF Strategie 1         Sale             2/13/2024     (1,565)      $104.9900        $164,309.35
                  BFF Strategie 1       Purchase           2/16/2024      1,250       $104.6000       ($130,750.00)
                  BFF Strategie 1         Sale             5/28/2024     (1,250)       $91.9014        $114,876.75
                                                                                                                       Filed 02/10/25




                  BFF Strategie 1       Purchase            6/7/2024       350         $97.1547        ($34,004.15)
                  BFF Strategie 1         Sale             10/ 1/2024    (1,375)       $87.9067        $120,871.71
                  BFF Strate2ie 1    End Holdin2s          10/1/2024      5,095                       ($624,487.76)

                LIMES-FundMaster    Be2i,nnin2 Holdin2s   3/19/2021        0
                 LIMES-FundMaster         Purchase        7/21/2023       800        $107.9151        ($86,332.08)
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                 LIMES-FundMaster         Purchase        9/12/2023       925         $96.4202        ($89,188 .69)




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                    Fund Name       Transaction Type   Trade Date   Shares   Price Per Share   Cost/Proceeds
                 LIMES-FundMaster       Purchase        7/17/2024     725       $73.2031         ($53,072.25)
                LIMES-FundMaster     End Holdin2s      10/1/2024     2,450                      ($228,593.01)
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